                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:16-cv-273-FDW
                                     (3:03-cr-55)

ANDREW TIMOTHY JONES,               )
                                    )
                  Petitioner,       )
                                    )
            vs.                     )                                 ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Respondent.       )
___________________________________ )

       THIS MATTER is before the Court on its own review of the file in this matter.

       This Court entered an Order to Show Cause on September 14, 2021 directing the parties to

show cause why the stay in this matter should not be continued in light of United States v. Taylor,

No. 20-1459, 2021 WL 2742792 (July 2, 2021). [Doc. 20]. The parties have not filed any

objections to a continuation of the stay and in light of Taylor, the Court finds that a continued stay

of the proceedings is warranted.

       IT IS, THEREFORE, ORDERED that this matter remains in ABEYANCE pending the

decision of the Supreme Court in Taylor.

       IT IS SO ORDERED.

                                      Signed: October 21, 2021




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